               IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS

IN RE:                      )                       Chapter 13
                            )
MUHAMMED AND AZZA AKRABAWI, )                       Case No. 13-47748
                            )
    Debtor(s).              )                       Judge Cox

                                     NOTICE OF MOTION

The following persons or entities who have been served via electronic mail:
U.S. Bankruptcy Trustee: USTPRegion11.ES.ECF@usdoj.gov
Tom Vaughn, Chapter 13 Trustee: ecf@tvch13.net

The following persons or entities who have been served via U.S. Mail:
See attached list.

Please take notice that I shall appear before the following named Bankruptcy Judge, or any other
Judge presiding in her stead at 219 South Dearborn Street, Chicago, IL 60604, and present the
attached Motion to Modify Chapter 13 Plan, at which time and place you may appear.

         JUDGE:       Cox
         ROOM:        680
         DATE:        December 10, 2018
         TIME:        9:00 AM


                                     PROOF OF SERVICE

The undersigned certifies that a copy of this Notice of Motion and attachments were deposited with
the U.S. Mail at Wheeling, Illinois, 60090, on or before 5:30 p.m. on November 19, 2018, with
sufficient postage prepaid, or served electronically by the bankruptcy court, under oath and under
all penalties of perjury.

                                                    /s/ Jason Cotey
                                                    Jason Cotey, A.R.D.C. #6311525
                                                    Attorney for the Debtor(s)


DAVID M. SIEGEL & ASSOCIATES
790 Chaddick Drive
Wheeling, IL 60090
847/520-8100
To the following persons or entities who have been served via U.S. Mail:

Muhammed and Azza Akrabawi
11728 S. Keeler
Alsip, IL 60803

Credit Acceptance Corp
25505 W. Twelve Mile Road
Southfield, MI 48034

IRS
Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

American InfoSource LP as agent for
Midland Funding LLC
PO Box 268941
Oklahoma City, OK 73126-8941

Quantum3 Group LLC as agent for
Comenity Bank
PO Box 788

Jefferson Capital Systems LLC
Purchased From International Collection
Po Box 7999
Saint Cloud Mn 56302-9617

Green Tree Servicing,LLC
7340 S. Kyrene Road
Recovery Dept. T-120
Tempe, AZ 85283

Real Time Resolutions, Inc as Agent for
CHECK N GO
PO Box 566027
Dallas, TX 75356-6027

Wells Fargo Bank, National Association
c/o Ocwen Loan Servicing, LLC.
Attn: Bankruptcy Department
P.O. Box 24605
West Palm Beach, FL 33416-4605
                IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS

IN RE:                      )                         Chapter 13
                            )
MUHAMMED AND AZZA AKRABAWI, )                         Case No. 13-47748
                            )
    Debtor(s).              )                         Judge Cox

                             MOTION TO MODIFY CHAPTER 13 PLAN

         NOW COMES the Debtors, MUHAMMED AND AZZA AKRABAWI, by and through

their attorneys, DAVID M. SIEGEL AND ASSOCIATES, to present this Motion, and in support

thereof states as follows:

   1)      Jurisdiction is proper and venue is fixed in this Court with respect to these parties.

   2)      On December 13, 2013, the Debtors filed a voluntary petition for relief pursuant to

           Chapter 13 under Title 11 USC, and the Chapter 13 plan was confirmed on June 2, 2014.

           Tom Vaughn was appointed Trustee in this case.

   3)      The Debtors’ Chapter 13 plan currently provides for payments of $350.00 each month,

           with payments to the general unsecured creditors of not less than 10% of their allowed

           claims. General unsecured creditors have, to date, now received more than 10% of their

           allowed claims.

   4)      The Debtors have paid in $26,064.80 into their plan over the 59 months since filing.

   5)      The Debtors are currently $700.00 behind in their monthly plan payments.

   6)      On November 9, 2015, an Order Granting a Motion to Modify Plan was entered,

           adjusting Debtors’ plan payments to $350.00, set fixed payments to Credit Acceptance

           Corporation to $330.00, deferred the default to the end of the plan, and directed the

           Trustee not to make further disbursements towards claim number 8, filed by Wells Fargo

           Bank, National Association.
   7)      This modification resulted, per the Trustee’s calculations, in a projected distribution to

           general unsecured creditors in the amount of 28.55% percent of the filed claims. This is

           an amount substantially greater than the 10% that confirmed plan called for because the

           base balance was not decreased in the order entered on November 9, 2015.

   8)      The Debtor propose to modify their Chapter 13 plan pursuant to 11 U.S.C. §1329 to

           adjust the plan base to $25,338.25. Debtors make this proposal in good faith and with

           the intention of completing their Chapter 13 plan.

   8)      Deferring the plan payment default and increasing the set payment will not cause the

           plan to run longer than 60 months, and will continue to pay general, unsecured creditors

           at 10% of their allowed claims.

        WHEREFORE, the Debtors, MUHAMMED AND AZZA AKRABAWI, prays that their

Honorable Court enter an Order to Modify the Chapter 13 Plan to decrease the plan base to

$25,338.25, and for other such relief as the Court deems fair and proper.


                                              Respectfully Submitted,

                                              /s/ Jason Cotey
                                              Jason Cotey, A.R.D.C. #6311525
                                              Attorney for the Debtor(s)

DAVID M. SIEGEL & ASSOCIATES
790 Chaddick Drive
Wheeling, IL 60090
847/520-8100
